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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DOROTHY AUSTIN,                                     )
                                                    )
               Plaintiff,                           )
                                                    )    Case No.: 1:10-cv-01665
v.                                                  )
                                                    )    Judge Der-Yeghiyan
GC SERVICES LIMITED PARTNERSHIP, a                  )
Delaware limited partnership,                       )
                                                    )
               Defendant.                           )

                 DEFENDANT S AMENDED AFFIRMATIVE DEFENSES

       Defendant, GC SERVICES, LP, ( defendant ), by its attorney, Todd P. Stelter, for its

Amended Affirmative Defenses to plaintiff s complaint, states as follows:


                                       FIRST DEFENSE

       Plaintiff s complaint fails to state a claim and/or cause of action upon which relief may

be granted.

                                     SECOND DEFENSE

       1.      Any violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.,

if applicable, which defendant denies, was not intentional and was the result of a bona fide error

notwithstanding the maintenance of procedures reasonably adapted to avoid any such error.

       2.      Specifically, in regard to the receipt of fax communications, GC Services LP

maintains procedures concerning the reviewing and proper handling of all legible fax

communications received by GC Services LP.

       3.      Said procedures are reasonably adapted to avoid any error as it concerns the

handling of fax communications pursuant to the FDCPA.




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       4.      Any legible faxes received by GC Services LP concerning a debtor, which state

that the debtor is represented by counsel and directs future communications to go solely to the

attorney, if the debtor can be identified, are noted on the debtor s account, future contact with the

debtor is ceased and all future contact is made through the attorney.



       WHEREFORE, defendant prays for an order and judgment of this Court in its favor

against plaintiff as follows:

            1. Dismissing all causes of action against defendant with prejudice and on the
               merits; and

            2. Awarding defendant such other and further relief as the Court deems just and
               equitable.



                                                     Respectfully submitted,

                                                     HINSHAW & CULBERTSON LLP


                                                     By: s/Todd P. Stelter
                                                         Todd P. Stelter



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                     IN THE UNITED STATES DISTRICT COURT
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DOROTHY AUSTIN,                                 )
                                                )
              Plaintiff,                        )
                                                )    Case No.: 1:10-cv-01665
v.                                              )
                                                )    Judge Der-Yeghiyan
GC SERVICES LIMITED PARTNERSHIP, a              )
Delaware limited partnership,                   )
                                                )
              Defendant.                        )


                             CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2010, I electronically filed AMENDED AFFIRMATIVE
DEFENSES with the Clerk of the Court using the CM/ECF system which will send notification
of such filing(s) to the following:

David J. Philipps
davephilipps@aol.com

                                         Respectfully submitted,




                                         By:____s/Todd P. Stelter______




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